AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                          for the
                                                 NorthernDistrict
                                              __________ Districtofof__________
                                                                      California

                  United States of America                    )
                             v.                               )     Case No. 22-0031-JSW
                          Ross Klinger                        )
                                                              )
                             Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:         01/31/2022                                                                 For Ross Klinger
                                                                                        Defendant’s signature




                                                                                   Signature of defendant’s attorney

                                                                                   John Paul Reichmuth, AFPD
                                                                               Printed name of defendant’s attorney



                                                                    Dated: 1/31/2022
                                                                                          Judge’s signature

                                                                     DONNA M. RYU, United States Magistrate Judge
                                                                                    Judge’s printed name and title
